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10
                             UNITED STATES BANKRUPTCY COURT
11
                              CENTRAL DISTRICT OF CALIFORNIA
12                             SAN FERNANDO VALLEY DIVISION
13    In re                                      Case No. 1:24-bk-10646-MB
14    SYNAPSE FINANCIAL TECHNOLOGIES,            Chapter 11
      INC.,
15                                               EMERGENCY MOTION OF EVOLVE
                                                 BANK & TRUST (“EVOLVE”) FOR AN
16                                               ORDER DIRECTING THE DEBTOR TO
      Debtor and Debtor-in-Possession            RESTORE EVOLVE’S ACCESS TO THE
17                                               DEBTOR’S DASHBOARD SYSTEM; OR,
                                                 ALTERNATIVELY, AUTHORIZING
18                                               EVOLVE TO CLOSE ALL OF THE
                                                 DEBTOR’S DEMAND DEPOSIT
19                                               ACCOUNTS AT EVOLVE ASSOCIATED
                                                 WITH DEBTOR’S PROGRAMS;
20                                               DECLARATION OF W. CHRISTOPHER
                                                 STAAB IN SUPPORT THEREOF
21
                                                 Hearing:
22                                               Date:   [To Be Set]
                                                 Time: [To Be Set]
23                                               Place: Courtroom 303
                                                        Zoom Only
24
                                                  Movant requests that the Motion be heard
25                                                on May 13, 2024 at 2:30pm when other
                                                  matters in the Case are scheduled. Movant
26                                                has been unable to connect with Chambers
                                                  prior to filing motion.
27

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 1   TO THE HONORABLE MARTIN R. BARASH, UNITED STATES BANKRUPTCY JUDGE,

 2   THE DEBTOR, THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS,

 3   SECURED CREDITORS, THE OFFICE OF THE UNITED STATES TRUSTEE, AND

 4   INTERESTED PARTIES:

 5          Pursuant to Local Bankruptcy Rules 2081-1 and 9075-1, 11 U.S.C. Sections 105(a), 363,

 6   701, 1106 and 1107, Evolve Bank & Trust (“Evolve”), a creditor and party-in-interest in the above-

 7   referenced chapter 11 case, hereby files this Motion (the “Motion”), on an emergency basis, for An

 8   Order Directing the Debtor to Restore Evolve’s Access to the Debtor’s Dashboard System; or,

 9   Alternatively, Authorizing Evolve to Close All End User Demand Deposit Accounts at Evolve

10   Associated with Debtor’s Programs.

11                                BRIEF BACKGROUND INFORMATION

12          Synapse Financial Technologies, Inc., the chapter 11 debtor and debtor-in-possession in the

13   above-captioned, chapter 11 bankruptcy case (the “Debtor”), filed a voluntary petition under Chapter

14   11 of Title 11, 11 U.S.C. Sections 101 et seq. (the “Bankruptcy Code”) on April 22, 2024 (the “Petition

15   Date”). As of the date of this Motion, the Debtor is continuing to operate its business, manage its

16   financial affairs and administer its bankruptcy estate as a debtor-in-possession pursuant to Sections

17   1107 and 1108 of the Bankruptcy Code. Notwithstanding, at a hearing held May 9, 2024, the Debtor

18   advised the Court and parties in interest that: (i) the proposed sale of substantially all of its assets to

19   TabaPay, LLC (as set forth in detail in Debtor’s Emergency Motion for an Order (A) Approving Sale

20   of Substantially All of the Debtor’s Assets Free and Clear of All Liens, Claims, Interests and

21   Encumbrances; (B) Approving Assumption and Assignment of Unexpired Leases and Executory

22   Contracts and Determining Cure Amounts; (C) Waiving the 14-Day Stay Periods of Bankruptcy Rules

23   6004(h) and 6006(d); and (D) Granting Related Relief (the “Sale Motion”)[Docket No. 8]) was not

24   going forward, and (ii) the Debtor would likely cease substantially all operations in the near term. As

25   of the date of this Motion, the Order Authorizing the Debtor’s Interim Use of Cash Collateral expires

26   May 14, 2024 [Docket No. 90]. A further hearing on the Debtor’s use of cash collateral is set for

27   May 13, 2024 at 2:30 p.m. – for the reasons set forth below, Evolve requests that this Motion be

28   set for hearing along with the cash collateral motion on May 13, 2024 at 2:30 p.m.

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 1                           EVOLVE’S NEED FOR EMERGENCY RELIEF

 2          Evolve seeks emergency relief from the Court because it has been denied access to an

 3   essential system owned and maintained by Debtor and has been forced to freeze End User accounts

 4   as a result. Evolve asks the Court to issue an order directing Debtor to restore Evolve’s access to the

 5   Debtor’s system, called the “Dashboard,” or alternatively, to authorize Evolve to close all End User

 6   demand deposit accounts at Evolve associated with Debtor’s programs under the September 23,

 7   2022 Master Bank Services Agreement between Debtor and Evolve (the “MBSA”).

 8          A.      Overview of the Dashboard

 9          The MBSA required Debtor to create and maintain an online platform through which Evolve

10   can view and access all information related to the Parties’ programs, including information

11   concerning bank services, critical subcontractors, end users, deposits, transactions, and any other

12   services (the “Dashboard”). The Dashboard is essential to Evolve’s ability to oversee Debtor’s

13   activities as a service provider, and is the system Evolve uses to, among other things, (i) access

14   current balances, transactions, and other real-time data about end users and their accounts, (ii)

15   confirm that transactions authorized by the Debtor issuing platform or other transactions processing

16   systems are posting to end user accounts, (iii) assess whether transactions are fraudulent or

17   unauthorized, and (iv) validate that end users have gone through proper sanctions screening or other

18   Bank Secrecy Act (“BSA”) or anti-money laundering-related processes, such as transactions

19   monitoring. In performing these important oversight functions, Evolve typically accesses the

20   Dashboard throughout the day as circumstances require, such as when transactions and or accounts

21   are flagged for suspicious activity.

22          As the Dashboard is a system owned and maintained by Debtor, Evolve employees must use

23   credentials issued by the Debtor to log into the Dashboard. The login process requires two-factor

24   authentication, which means that in addition to entering a correct UserID and password combination,

25   Evolve employees must enter a six-digit numeric code that is sent to their mobile device or email

26   address.

27   ///

28   ///

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 1          B.      Evolve is Denied Access to the Dashboard

 2          At approximately 8:42 A.M. Pacific time on Saturday May 11, 2024, Evolve employees

 3   discovered that they could no longer successfully log into the Dashboard. Specifically, during the

 4   second phase of the two-factor authentication process, Evolve employees were unable to

 5   successfully log in, and were shown a notice at the top of the screen: “! CRAA007 – User is not

 6   authorized to access this application.” At the time of filing, approximately 60 Evolve employees

 7   who had been able to access the Dashboard prior to May 11, 2024, have not been able to log into the

 8   Dashboard.

 9          C.      Evolve’s Immediate Response to Losing Access to the Dashboard

10          Without access to the Dashboard, Evolve was left without its principal tool for identifying,

11   preventing, and rectifying unlawful, fraudulent, unauthorized, and/or other irregular activity in

12   connection with Debtor’s programs. The situation required the urgent attention of Evolve’s senior

13   management team responsible for overseeing Debtor’s programs. Throughout the morning of May

14   11, 2024, members of management met with counsel to develop a plan for responding to the loss of

15   Dashboard access. Evolve determined that without access to the Dashboard, the only course of

16   action to prevent harm to End Users and the bank would be to (i) attempt to confirm the loss of

17   Dashboard access with Debtor, and (ii) absent a change in circumstances, freeze all account activity

18   associated with Debtor’s programs pending restoration of system access and investigation of any

19   irregular, unlawful, or unauthorized activity impacting End User accounts. Evolve is permitted to

20   freeze End User accounts in accordance with the demand deposit account agreement(s) between

21   Evolve and each End User, including when the Bank suspects that any irregular, unauthorized, or

22   unlawful activity may be occurring in connection with the account, and to comply with regulations

23   issued by the U.S. Treasury Department’s Office of Foreign Assets Control.

24          At 10:22 A.M. Pacific time, counsel for Evolve sent an email with a “High Importance” flag

25   to Debtor’s counsel, stating that Evolve’s access credentials for the Dashboard no longer worked and

26   seeking confirmation from Debtor by 12:00 P.M. Pacific time as to whether Evolve’s access

27   credentials had been revoked, suspended, or otherwise rendered inoperative. At 1:22 P.M. Pacific

28   time, Debtor’s General Counsel replied with a single-line email: “Will check in with the team.” At

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 1   that point, Evolve determined that in order to timely address the serious risks presented by the lack

 2   of Dashboard access, it was necessary to move forward with freezing account activity to prevent

 3   potential unlawful, fraudulent, unauthorized, or other irregular activity from occurring without the

 4   possibility of detection or mitigation by Evolve.

 5          Accordingly, at 1:54 P.M. Pacific time, Evolve notified the Debtor’s CEO by email that in

 6   light of the revocation of Evolve’s access to the Synapse dashboard, and for the security and

 7   integrity of end user accounts, Evolve would be freezing all account activity for DDAs in the

 8   Debtor’s program and Synapse Brokerage program, effective immediately. At 2:20 P.M. Pacific

 9   time, Debtor’s CEO responded that he was “not sure which access has been discontinued.” He

10   additionally stated that Debtor was “working with third parties and will provide information to you

11   as appropriate and permissible.” Following this response from Debtor’s CEO, Evolve proceeded to

12   notify fintech platforms of the account freeze in email communications sent at 2:40 P.M. and

13   2:44 P.M. Pacific time, and directed platforms to notify their End Users regarding the status of their

14   accounts, cards, and future transactions.

15          At 2:47 P.M. Pacific time, Evolve instituted a freeze on activity for any Evolve account in

16   Debtor’s programs. This covered any debit and credit card programs that are sponsored by Evolve,

17   as well as payment processing services for Synapse Brokerage LLC. Additionally, Evolve took the

18   same actions to freeze a limited number of accounts that are Evolve Bank and Trust demand deposit

19   accounts (“DDAs”) that total $5.9 million in end user deposits. Evolve did not freeze any corporate

20   accounts belonging to Debtor, and the Synapse Brokerage sweep account was not frozen.

21          Following the freeze, Evolve received communications from one fintech indicating that

22   Debtor claimed that Evolve’s Dashboard access had not been revoked. However, since instituting

23   the freeze, Evolve has performed periodic checks of its Dashboard access throughout May 12, 2024

24   (and through the filing of this Motion), and has confirmed that Evolve continues to be denied access

25   to the system.

26          Evolve again attempted to resolve the issue by sending an email demand to Debtor’s CEO on

27   Sunday May 12, 2024 at 12:33 P.M. Pacific time, explaining the significance of the impact on

28   Evolve, End Users and the fintechs and providing a screenshot showing the login screen and error

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 1   message. At 12:35 P.M. Pacific time, Debtor’s CEO replied, “Thanks for the screenshot, we will

 2   investigate further.” Evolve has received no further communication from Debtor at the time of filing

 3   of this Motion regarding restoration of Dashboard access. Evolve can only speculate as to the reason

 4   why it has been locked out of the Dashboard and the Debtor’s lack of urgency in seeking to resolve

 5   the situation, notwithstanding its significant impact on the End Users, the fintechs and Evolve.

 6          D.      Emergency Relief is Warranted to Protect End Users and Evolve

 7          Evolve seeks relief from this Court in the form of an order directing Debtor to restore

 8   Evolve’s access to the Dashboard, and not to make any other material changes to the Dashboard. In

 9   addition, Debtor has failed to provide Evolve with data and reports that it has customarily provided,

10   since May 6, 2024, including, but not limited to, reports regarding debit and credit card transactions

11   and reports showing the DDA ledger. If Dashboard access is timely restored, Evolve will review

12   any material changes that might have been made without Evolve’s knowledge or authorization when

13   the Dashboard access was initially revoked. If no unlawful, fraudulent, unauthorized, or other

14   irregular activity is identified, and Synapse Brokerage transfers to Evolve good funds to settle all

15   card settlement activity as appropriate for end users in the Synapse Brokerage ecosystem, Evolve

16   will unfreeze accounts and resume normal operations.

17          Alternatively, given that the MBSA between Evolve and Debtor expired on September 29,

18   2023, and in light of the migration of the vast majority of Debtor’s platforms and End Users to a

19   separate program offered by Debtor’s wholly-owned non-debtor subsidiary, Synapse Brokerage

20   LLC, Evolve seeks the Court’s authorization to close all End User demand deposit accounts at

21   Evolve associated with Debtor’s programs under the MBSA.

22          Broadly, as described in paragraphs 7-14 of Debtor’s Declaration of Sankaet Pathak in

23   Support of All of the Debtor’s “First-Day Motions” (“Pathak Declaration”)[Docket No. 12],

24   Debtor’s technology and processes are a crucial intermediary between fintech platforms (and their

25   customers, the End Users) and partner financial institutions that provide financial services to End

26   Users. As noted above, the MBSA between Evolve and Debtor expired at the end of September

27   2023 and has been in a wind-down period since that time. Rather than replacing Evolve’s position in

28   the Debtor’s structure and processes with another banking institution, Debtor migrated the vast

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 1   majority of the fintechs and End Users that remain part of the Debtor’s program away from Evolve,

 2   and established new accounts at Synapse Brokerage, which “offers, directly to End Users, cash

 3   management products and related services through the Debtor’s relationships with fintechs and

 4   network of program banks which enables End Users to spread their risk across banks. [Synapse]

 5   Brokerage’s cash management program enables End Users’ funds to be placed across a number of

 6   program banks1 to receive potential increased FDIC deposit insurance of such funds.”[emphasis

 7   added] Pathak Declaration, Paragraph 13.

 8          Critically, as also described in Paragraph 13 of the Pathak Declaration, Synapse Brokerage

 9   “does not directly have any employees. Rather, the Debtor provides administrative support and

10   services to [Synapse] Brokerage such as technology, transaction processing, record keeping, sales,

11   legal and other back-office services, for which [Synapse] Brokerage pays a monthly service fee to

12   the Debtor.” As a result, and notwithstanding the fact that Synapse Brokerage is not in a bankruptcy

13   proceeding, both the End Users whose funds are generally held in accounts at Evolve (i.e., End

14   Users whose fintechs have neither left the Debtor’s program nor migrated to Synapse Brokerage)

15   and the End Users whose funds were migrated to new accounts at Synapse Brokerage are highly

16   dependent on Debtor’s “technology, transaction processing, record keeping” and other services to

17   successfully operate.

18          In order to ensure that End Users and fintech platforms have clarity regarding the

19   management and location of End User funds as Synapse winds down its operations, Evolve seeks

20   permission to close End Unser DDAs at Evolve, pursuant to Evolve’s DDA account agreements with

21   each End User, while the fintech platforms can still operate using the Synapse technology. In

22   addition to facilitating an orderly closing of accounts, the timely distribution of funds held by Evolve

23   will reduce the inconvenience that End Users with funds at Evolve could face if their funds were

24   frozen for a sustained period.

25          Evolve does not believe that account closures will harm or prejudice Synapse. Indeed, the

26   Debtor has rejected its Agreements with Evolve. [Docket Nos. 76 and 130]. This provides further

27
     1
28    Evolve is not a “program bank” in the Synapse Brokerage program, but rather continues to provide
     payment services to those End Users as a contractor of Debtor.
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 1   indication that Evolve is not a necessary component for any foreseeable operation of the Debtor’s

 2   programs.

 3          E.      Authority for Relief Requested

 4          The relief requested goes directly to the Debtor’s administration of this chapter 11 estate.

 5   Accordingly, the Court has jurisdiction and the authority to order the relief requested pursuant to

 6   Section 704(a)(7) of the Bankruptcy Code, which provides – “[t]he trustee [in this case the debtor in

 7   possession] shall – unless the court orders otherwise, furnish such information concerning the estate

 8   and the estate’s administration as requested by a party in interest.” Section 704(a)(7) is applicable

 9   here pursuant to Sections 1107(a) and 1106(a)(1) of the Bankruptcy Code. In addition, pursuant to

10   Section 105(a) of the Bankruptcy Code, the court may issue any order, process or judgment that is

11   necessary or appropriate to carry out the provisions of this title, which provides the Court with

12   further authority to grant the relief requested.

13

14                                                      Respectfully submitted,

15    DATED: May 13, 2024                               BG LAW LLP
16

17                                                      By: /s/ David M. Poitras
                                                             Steven T. Gubner
18                                                           David M. Poitras
                                                        Attorneys for Evolve Bank & Trust
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 1                           DECLARATION OF W. CHRISTOPHER STAAB

 2          I, W. Christopher Staab, hereby declare as follows:

 3          1.      I am the Chief Technology Officer (“CTO”) of Evolve Bank & Trust (“Evolve”). I

 4   have held this position since 2022. As CTO, my duties and responsibilities include overseeing all of

 5   the technology for Evolve. In addition, I have worked extensively with Evolve’s Open Banking

 6   Division, which supports fintech clients and aggregators such as Synapse Financial Technologies,

 7   Inc. (“Synapse”). For the last eight months I have been working closely with the Synapse team as

 8   they have struggled with issues related to maintaining a ledger for their brokerage business at

 9   Synapse Brokerage LLC (“Synapse Brokerage”). This has included material deficiencies with the

10   balances held by Synapse Brokerage customers at AMG, American Bank, Lineage and ADMC.

11   Through this work I have become familiar with the Synapse platform, including the Synapse

12   dashboard system (“Dashboard”). The Synapse systems are leveraged by various departments

13   within Evolve for the oversight of customer activity. I hold a bachelor's degree in business

14   administration from Boston University. I have more than twenty years of experience in the financial

15   services industry. Capitalized terms used in this declaration and not specifically defined herein shall

16   have the meaning ascribed to such terms in the Motion.

17          2.      The MBSA required Debtor to create and maintain an online platform through which

18   Evolve can view and access all information related to the Parties’ programs, including information

19   concerning bank services, critical subcontractors, end users, deposits, transactions, and any other

20   services (the “Dashboard”). The Dashboard is essential to Evolve’s ability to oversee Debtor’s

21   activities as a service provider, and is the system Evolve uses to, among other things, (i) access

22   current balances, transactions, and other real-time data about end users and their accounts, (ii)

23   confirm that transactions authorized by the Debtor issuing platform or other transactions processing

24   systems are posting to end user accounts, (iii) assess whether transactions are fraudulent or

25   unauthorized, and (iv) validate that end users have gone through proper sanctions screening or other

26   Bank Secrecy Act (“BSA”) or anti-money laundering-related processes, such as transactions

27   monitoring. In performing these important oversight functions, Evolve typically accesses the

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 1   Dashboard throughout the day as circumstances require, such as when transactions and or accounts

 2   are flagged for suspicious activity.

 3          3.      As the Dashboard is a system owned and maintained by Debtor, Evolve employees

 4   must use credentials issued by the Debtor to log into the Dashboard. The login process requires two-

 5   factor authentication, which means that in addition to entering a correct UserID and password

 6   combination, Evolve employees must enter a six-digit numeric code that is sent to their mobile

 7   device or email address.

 8          4.      At approximately 8:42 A.M. Pacific time on Saturday May 11, 2024, Evolve

 9   employees discovered that they could no longer successfully log into the Dashboard. Specifically,

10   during the second phase of the two-factor authentication process, Evolve employees were unable to

11   successfully log in, and were shown a notice at the top of the screen: “! CRAA007 – User is not

12   authorized to access this application.” At the time of filing, approximately 60 Evolve employees

13   who had been able to access the Dashboard prior to May 11, 2024, have not been able to log into the

14   Dashboard.

15          5.      Without access to the Dashboard, Evolve was left without its principal tool for

16   identifying, preventing, and rectifying unlawful, fraudulent, unauthorized, and/or other irregular

17   activity in connection with Debtor’s programs. The situation required the urgent attention of

18   Evolve’s senior management team responsible for overseeing Debtor’s programs. Throughout the

19   morning of May 11, 2024, members of management met with counsel to develop a plan for

20   responding to the loss of Dashboard access. Evolve determined that without access to the

21   Dashboard, the only course of action to prevent harm to End Users and the bank would be to (i)

22   attempt to confirm the loss of Dashboard access with Debtor, and (ii) absent a change in

23   circumstances, freeze all account activity associated with Debtor’s programs pending restoration of

24   system access and investigation of any irregular, unlawful, or unauthorized activity impacting End

25   User accounts. Evolve is permitted to freeze End User accounts in accordance with the demand

26   deposit account agreement between Evolve and each End User, including when the Bank suspects

27   that any irregular, unauthorized, or unlawful activity may be occurring in connection with the

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 1   account, and to comply with regulations issued by the U.S. Treasury Department’s Office of Foreign

 2   Assets Control.

 3          6.      At 10:22 A.M. Pacific time, counsel for Evolve sent an email with a “High

 4   Importance” flag to Debtor’s counsel, stating that Evolve’s access credentials for the Dashboard no

 5   longer worked and seeking confirmation from Debtor by 12:00 P.M. Pacific time as to whether

 6   Evolve’s access credentials had been revoked, suspended, or otherwise rendered inoperative. At

 7   1:22 P.M. Pacific time, Debtor’s General Counsel replied with a single-line email: “Will check in

 8   with the team.” At that point, Evolve determined that in order to timely address the serious risks

 9   presented by the lack of Dashboard access, it was necessary to move forward with freezing account

10   activity to prevent potential unlawful, fraudulent, unauthorized, or other irregular activity from

11   occurring without the possibility of detection or mitigation by Evolve.

12          7.      At 1:54 P.M. Pacific time, Evolve notified the Debtor’s CEO by email that in light of

13   the revocation of Evolve’s access to the Synapse dashboard, and for the security and integrity of end

14   user accounts, Evolve would be freezing all account activity for DDAs in the Debtor’s program and

15   Synapse Brokerage program, effective immediately. At 2:20 P.M. Pacific time, Debtor’s CEO

16   responded that he was “not sure which access has been discontinued.” He additionally stated that

17   Debtor was “working with third parties and will provide information to you as appropriate and

18   permissible.” Following this response from Debtor’s CEO, Evolve proceeded to notify fintech

19   platforms of the account freeze in email communications sent at 2:40 P.M. and 2:44 P.M. Pacific

20   time, and directed platforms to notify their End Users regarding the status of their accounts, cards,

21   and future transactions.

22          8.      At 2:47 P.M. Pacific time, Evolve instituted a freeze on activity for any Evolve

23   account in Debtor’s programs. This covered any debit and credit card programs that are sponsored

24   by Evolve, as well as payment processing services for Synapse Brokerage. Additionally, Evolve

25   took the same actions to freeze a limited number of accounts that are Evolve Bank and Trust demand

26   deposit accounts (“DDAs”) that total $5.9 million in end user deposits. Evolve did not freeze any

27   corporate accounts belonging to Debtor, and the Synapse Brokerage sweep account was not frozen.

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
21650 Oxnard Street, Suite 500, Woodland Hills, CA 91367.

A true and correct copy of the foregoing document entitled: EMERGENCY MOTION OF EVOLVE BANK & TRUST
(“EVOLVE”) FOR AN ORDER DIRECTING THE DEBTOR TO RESTORE EVOLVE’S ACCESS TO THE DEBTOR’S
DASHBOARD SYSTEM; OR, ALTERNATIVELY, AUTHORIZING EVOLVE TO CLOSE ALL OF THE DEBTOR’S
DEMAND DEPOSIT ACCOUNTS AT EVOLVE ASSOCIATED WITH DEBTOR’S PROGRAMS; DECLARATION OF W.
CHRISTOPHER STAAB IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
May 13, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                 Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On ___________, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
**JUDGE’S COPY NOT REQUIRED IF LESS THAN 25 PAGES (GENERAL ORDER 23-01).




                                                                                 Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on May 13, 2024, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

                                                                     VIA EMAIL

                                                Official Committee of Unsecured Creditors

Kroll Associates, Inc.                                                    Mercury Technologies, Inc.
Attn: Heather Elizabeth Saydah                                            Attn Celeste Ferber
55. East 52nd Street, 17th Floor                                          333 Bush Street, Suite 1900
New York, NY 10055                                                        San Francisco, CA 94104
Heather.saydah@kroll.com                                                  celeste@mercury.com


                                                                                 Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


May 13, 2024                                  Jennifer Warner                                 /s/ Jennifer Warner
Date                                          Printed Name                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

AND

3. SERVED BY EMAIL

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2. SERVED E- MAIL

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